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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF TEXAS

 DENNIS W. HALLEMA,

      Plaintiff,                                  Case No. 3:22-cv-00896-M

 v.

 UNITED STATES CITIZENSHIP AND
 IMMIGRATION SERVICES, et al.

      Defendants.



                      NOTICE OF VOLUNTARY DISMISSAL
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

          Since the filing of this lawsuit, Defendants have finally adjudicated the long-pending

application of the Plaintiff Dennis W. Hallema. As such, the present lawsuit is now moot.

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Dennis W. Hallema hereby

voluntarily dismisses the instant action with prejudice. Each side to bear their own fees and

costs.



                                                                      /s/ James O. Hacking, III
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                                                              ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 1, 2022, the foregoing Notice of Voluntary Dismissal was

filed electronically with the Clerk of the Court to be served by operation of the Court’s electronic

filing system.



                                              /s/ James. O. Hacking, III
                                              James O. Hacking, III, MO Bar # 46728
                                              Hacking Immigration Law, LLC
